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                                                          May 22, 2020

                                                              KC




                                                        /s/




        May 22, 2020
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                                AFFIDAVIT

I, Robert Christian McElroy, being duly sworn, declare and state

as follows:
                            I. INTRODUCTION

        1.   I am a Special Agent (“SA”) for the Federal Bureau of

Investigation (“FBI”) and have been so employed since October

2019.    As a Special Agent I completed the FBI Academy in

Quantico, Virginia, and received training to include the

fundamentals of law, ethics, interviewing, report writing,

firearms, surveillance, defensive tactics, and case management.

From March 2020 to the present, I have been assigned to the

Violent Crimes Squad investigating threats to individuals and

fugitive investigations in the Los Angeles Division of the FBI.


                       II. PURPOSE OF AFFIDAVIT

        2.   This affidavit is made in support of a criminal

complaint against for DEVIN KYLE WADE (“WADE”) for a violation

of Title 18, United States Code, Section 875(c) (Extortion and

Threats – Interstate communications).

        3.   The facts set forth in this affidavit are based upon

my personal observations, my training and experience, review of

official reports, and information obtained from various law

enforcement personnel and witnesses.        This affidavit is intended

to show merely that there is sufficient probable cause for the

requested complaint and does not purport to set forth all of my

knowledge of or investigation into this matter.         Unless

specifically indicated otherwise, all conversations and
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statements described in this affidavit are related in substance

and in part only.


                  III. STATEMENT OF PROBABLE CAUSE

       4.   On May 18, 2020, the United States Marshal Service

provided information to the Federal Bureau of Investigation Los

Angeles Violent Crime Task Force that a United States District

Court Judge, received two emails from Gmail account

ogkrackerkiller@gmail.com.      The emails were threatening in

nature and were sent to the official chamber’s email address,

[xxx]Chambers@cacd.uscourts.gov. 1       The emails are as follows:

            From: Hugh James <ogkrackerkiller@gmail.com>

            Sent: Sunday, May 17, 2020 9:49 PM

            To: [xxxxxxxxxx][xxx]Chambers@cacd.uscourts.gov>

            Subject: Get protection! Better yet and a attorney



            When one of you judges, or district attorneys get

            murdered for destroying or f****** with Devin Wade or

            not letting this government off Devin Wade his life

            you will understand why you're laying in the casket. I

            see that you bigots enjoy getting kick in destroying

            African American man's life, soon is your turn to die.

            Alike that gas pump in eastvale, your home's next.

And:


       1
       The identity of the judge and the full e-mail address are
known to me and have been redacted here. DADE does not appear
to have any pending cases before this judge.
                                     2
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           From: Hugh James <ogkrackerkiller@gmail.com>

           Sent: Sunday, May 17, 2020 10:32 PM

           To: [xxxxxxxxxx][xxx]Chambers@cacd.uscourts.gov>

           Subject: You'll never see it coming



           Your dead whore. I'll put a bullet in your head in the

           middle of your kitchen with out you seeing it coming

           or expecting it.

           #casket!?comingsoon!

     5.    On May 18, 2020, SA Richard Ryan (“Ryan”) and I

submitted an Emergency Disclosure Request (EDR) to Google to

obtain subscriber information for Gmail account

ogkrackerkiller@gmail.com.      Google returned a subscriber name,

Hugh James, an account creation IP address, IP activity,

associated IP addresses, and Android device configuration

service data.    I ran the associated IP addresses through

multiple IP locator websites, which returned locations in

Chicago, IL and Buena Park, CA.          The Android device data

provided an IMEI number (015416006207352) and information that

the device had been used to access the following email accounts:

ogkrackerkiller@gmail.com, tessieralejandra@gmail.com,

clientsofentity@gmail.com, and [E.T.]email@gmail.com. 2

     6.    In the email threats, the author had mentioned Devin

Wade. On May 18, 2020, Ryan received from the U.S. Marshals

Service, an emailed copy of a civil complaint for violation of

     2 The full e-mail has been redacted because it discloses the
victim’s identity.
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civil rights that had been filed in the United States District

Court, Central District of California (CV No. 19-2496-MWF-JPR),

by WADE.   In the complaint, WADE stated his address as 14705

Prairie Smoke Road, Eastvale, California.        One of the email

threats had referenced Eastvale.

     7.      On May 18, 2020, Ryan and I contacted AT&T, T-Mobile

and Sprint to determine, under exigent circumstances, if the

IMEI number provided by Google was associated with the service

providers.    T-Mobile provided information that the IMEI number

was associated with a TracPhone cellular phone with phone number

909-538-9384 (“Subject Telephone”).       T-Mobile offered to provide

GPS locations (“pings”) every 15 minutes for a period of 24

hours.

     8.      The ping location data provided by T-Mobile on May 19,

2020 indicated that the phone moved in the following areas:

Chino Hills, Corona, 3 Orange County, South Los Angeles, Long

Beach, and surrounding areas.      Between approximately 9:55PM on

May 19, 2020 and 10:25AM on May 20,2020, the pings became

stationary, with some periodic movement in the general vicinity,

at a Budget Inn located at 1108 North Harbor Boulevard, Santa

Ana, California.    The pings provided had an accuracy between 5

meters and 46 meters.

     9.      A criminal background check of WADE indicated that he

had some criminal history including that he was involved in a

     3 During this ping, it appeared that the Subject Telephone
was pinging from a T-Mobile store. Store surveillance photos
were not conclusive because many people were wearing masks as a
result of the COVID-19.
                                     4
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theft of an auto-parts store in Corona, California on April 22,

2020.     WADE was subsequently pulled over in a gray 2011 Toyota

Corolla with license plate number 8PMH695.

        10.    On May 20, 2020, at 10:25AM PST, we received the last

ping from T-Mobile of the Subject Telephone, which was located

at the Budget Inn at 1108 North Harbor Boulevard, Santa Ana,

California.      At approximately 11:20AM PST, Special Agent Steven

Wrathall drove into the Budget Inn parking lot and saw a gray

Toyota Corolla bearing license plate number 8PMH695 that was

parked.       In order to not disrupt the ongoing investigation,

Special Agent Wrathall was only able to identify a black male

(WADE is also black), wearing a baseball cap, sitting in the

driver’s seat of the vehicle.      At some point, Special Agent

Wrathall became worried that he would be identified as law

enforcement, so he left the parking lot.

        11.    Later that evening, we obtained a federal search

warrant to search WADE’s person and his car, and a GPS ping

warrant from United States Magistrate Judge Hon. Judge Sheri

Pym.    (ED No. 20-275).     On May 20, 2020, at 8:10PM, I served the

warrant to T-Mobile via email for GPS ping locations at 15-

minute intervals for Subject Phone.       On the same evening, at

10:13PM, I began to receive ping locations for Subject Phone

from T-Mobile to my email account on 15-minute intervals.           From

the first ping at 10:13PM to the ping I received on May 21,

2020, at 4:13AM, T-Mobile was unable to provide a location,

indicating that the phone may have been turned off.          At 4:13AM,

I began to receive pings of the phone’s location in the

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Eastvale, California area.      The pings were very accurate with an

accuracy range of two meters to 45 meters.

     12.   On May 21, 2020, SA Ryan, other FBI special agents,

and I initiated surveillance in the area that the Subject

Telephone pings resolved to.       At approximately 1:00PM, the

surveillance team received an updated ping.         Upon arrival at the

location of that ping, the vehicle known to be driven by WADE, a

gray 2011 Toyota Corolla bearing license plate 8PMH695 (“Subject

Vehicle”), was identified.      Based on his California driver

license ID picture, I was able to identify WADE standing outside

of the Subject Vehicle.     We detained WADE for public safety,

while explaining that we had a search warrant for his person and

the Subject Vehicle.

     13.   At approximately, 1:10PM, FBI agents initiated the

search of WADE and the Subject Vehicle and recovered the

following items:

           a. A black cellular phone later confirmed to be the

              Subject Phone.    For confirmation, a phone call was

              made to the phone number of the Subject Telephone

              and the phone that was located on the driver’s seat

              of the Subject Vehicle correspondingly rang.

           b. A piece of paper bearing full credit card

              information for four separate cards and full

              information for two bank checking debit cards all in

              the name of E.T. 4

     4 The full name of E.T. is known to agents but abbreviated
here to protect his privacy.
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           c. Four black thumb drives.

           d. One CD-ROM with a blue label.

           e. Two laptop computers.

           f. One file folder with various court documents,

              including a piece of paper handwritten: “(Central

              District Judges # Accts Attached to)” with the names

              of six United States District Court judges for the

              Central District of California.

     14.   On May 21, 2020, I spoke to FBI SA Sarah Corcoran (“SA

Corcoran”) who spoke to E.T. to discuss the credit card

information found in the Subject Vehicle and to determine if

Wade was authorized to have that information.         E.T. informed SA

Corcoran that he did not know WADE and that WADE should not have

that information. Furthermore, E.T. mentioned that he had

recently received several fraud alerts.

     15.   On May 21, 2020, during the search of WADE and the

Subject Vehicle, WADE confirmed his identity to Special Agents

and requested to remain silent for the duration of the search.

     16.   Following execution of the search warrant and

identification of the items described above.         WADE was taken

into custody under a probable cause arrest for violations of 18

U.S.C. § 875 (c), interstate communications, and transported to

Metropolitan Detention Center for processing.


                          IV. INTERSTATE NEXUS

     17.   On May 21, 2020, I spoke to Supervisory Special Agent

Michael Sohn (“SSA Sohn”), who has been employed by the FBI for

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13 years and investigated cyber-crime his entire career.           SSA

Sohn informed me that there are two servers that share the

workload to support uscourts.gov emails.        One of the servers was

in Montgomery, Alabama and the other was in Berkeley,

California.   According to SSA Sohn, emails sent to an email

address with domain cacd.uscourts.gov would have to ping in both

Montgomery, Alabama and Berkeley, California, as both servers

share the workload.


                             V. CONCLUSION

     18.   For all the reasons described above, there is probable

cause to believe that DEVIN KYLE WADE has committed a violation

of 18 U.S.C. § 875 (c), interstate communications.




                                                      /s/
                                         Robert Christian McElroy,
                                         Special Agent
                                         Federal Bureau of
                                         Investigation
Attested
Subscribed to and sworn by
telephone this 22th day of May,
2020.



UNITED STATES MAGISTRATE JUDGE




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